         Case 1:19-cr-00366-LGS Document 137 Filed 12/16/20 Page 1 of 1
                                          U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York

                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007



                                                    December 16, 2020

BY ECF

The Honorable Lorna G. Schofield
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

       Re:     United States v. Stephen M. Calk, 19 Cr. 366 (LGS)

Dear Judge Schofield:

        The Government writes to respectfully request any additional guidance the Court is able
to provide regarding whether the trial date in this matter remains set for February 16, 2021. The
Court set the February 16, 2021 trial date on October 16, 2020. (Dkt. 115). Subsequently, on
November 30, 2020, the Chief Judge issued a standing order suspending all jury trials until
January 15, 2021. See In re Coronavirus/COVID-19 Pandemic: Suspension of In-Person
Operations Effective December 1, 2020, No. 20 Misc. 622 (CM). Following this standing order,
the Government understands that the District’s trial selection committee recently provided trial
date assignments for the first quarter of 2021. As the trial date approaches, and given the needs
of the parties and witnesses to begin making preparations in advance of any trial, any additional
guidance the Court is able to provide on whether the trial in this matter remains likely to begin
on February 16, 2021 would be greatly appreciated. We thank you for consideration of this
request.

                                             Respectfully submitted,

                                             AUDREY STRAUSS
                                             Acting United States Attorney

                                         by: /s/ Paul M. Monteleoni
                                             Paul M. Monteleoni
                                             Douglas S. Zolkind
                                             Benet J. Kearney
                                             Assistant United States Attorneys
                                             (212) 637-2219/2418/2260
cc: Counsel of Record (via ECF)
